
PENDEETON, President,
delivered the resolution of the court as follows:
The appellant has collected and accounted for the taxes of two years, which were all that he was liable for by law. '^'The confusion has arisen from the auditor’s not distinguishing between the revenue and certificate tax, and charging the sheriff with the latter for the year 1783, when none was due.* This error was adopted by the commissioner, and followed by the chancellor. The decree must therefore be reversed so far as relates to the mistake; and the following is to be the entry:
*756“The court is of opinion that there is no error in so much of the said decree as disallows interest, and dissolves the appellant’s injunction, as to thirty-four pounds six shillings and eight pence, the balance of the revenue tax of 1784; nor as makes it perpetual as to the residue of the judgments, except the certificate tax of 1785: But that there is error in so much as dissolves the injunction as to the certificate tax of 1785, the same having been fully accounted for and paid, but the collection and payments misapplied by taking into the account the year 1783, when none were or could be collected by the appellant, not being due by law. Therefore, It is decreed and ordered, that so much of the said decree, as is herein before stated to be erroneous, be reversed and annulled and that the residue thereof be affirmed; that the injunction, as to the certificate tax of 1785, be perpetual; and that the appellee pay to the appellant his costs by him expended in the prosecution of his appeal aforesaid here.”

The certificate tax was imposed in May 1782, to be collected after the 1st of March, following-. But the collection was postponed, in October 1782, until the succeeding August; and, in May 1783, it was further postponed, until the 1st of February, 1784.

